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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

WEBER-STEPHEN PRODUCTS LLC,                   )
                                              )
             Plaintiff,                       )     No. 1:13-cv-01686
                                              )
             v.                               )
                                              )     Judge Edmond E. Chang
SEARS HOLDING CORPORATION, and                )
SEARS, ROEBUCK AND CO.,                       )
                                              )
             Defendants.                      )

                          MEMORANDUM OPINION AND ORDER

      Plaintiff Weber-Stephen Products LLC brought this suit against Defendants

Sears Holding Corporation and Sears, Roebuck and Co. (collectively referred to as

Sears), alleging patent infringement, in violation of 35 U.S.C. § 271, and trade dress

infringement, in violation of section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a). R.

138, First Am. Compl. Weber contends that Sears manufactures and sells products

that infringe one of Weber’s utility patents and two of its design patents, namely,

United States patent numbers 8,347,874 (the ’874 utility patent), D564,834 (the

’834 design patent), and D609,045 (the ’045 design patent). Id. Specifically, Weber

contends that Sears has infringed claims 1-4, 6-10, and 14-20 of the ’874 patent and

certain elements of the ’045 and ’834 design patents. Id. ¶¶ 28, 39, 50. The parties

briefed the construction of disputed terms in the claims at issue, and the Court held
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a claim construction hearing, comprised of oral argument. The Court decides the

construction of disputed terms as set forth below.1

                                    I. Background

       The ’874 patent (entitled “Grease Drip Pan and Gas Tank Blocker for a

Barbecue Grill”) discloses a fuel-tank-blocking structure that prevents storage of a

second fuel tank inside a grill frame to minimize fire and tipping hazards in gas

barbecue grills. R. 175-1, J.A., ’874 Patent at 1. To discourage removal of the tank

blocker (removal would of course defeat the safety feature), the ’874 patent

describes the preferred embodiment of the invention as one “adapted to support a

component of the grease management system, namely the grease drip pan.” Id.

Thus, consumers would not be able to remove the tank blocker without impairing

the grease-management system. Id. Weber alleges that Sears’s Kenmore Elite

Stainless grill and Kenmore Elite Espresso grill infringe Claims 1-4, 6-10, and 14-20

of the ’874 patent by also featuring propane-tank blocking structures and grease-

collecting cup brackets. First Am. Compl. ¶¶ 23-28.

       In the ’874 patent, the parties have identified three disputed terms for

construction. Independent Claims 1 and 14 provide examples of the disputed terms

(in bold italics below) in context. From Claim 1:

       1. A barbecue grill assembly comprising:

       a cooking chamber, a frame assembly, and a tank blocking structure;

       the frame assembly supporting the cooking chamber;


       1The  Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1338(a)-(b),
2201, 2202, 1367(a). Citation to this Court’s docket is noted as “R. [docket entry number].”
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      the frame assembly having an interior with a volume capable of receiving
            two fuel tanks of equal size, except that the tank blocking structure
            divides the interior of the frame assembly to create a plurality of
            compartments, such that only one of the two fuel tanks can be disposed
            in the frame assembly; and,

      the tank blocking structure holding a grease drip pan for collecting grease
            from the cooking chamber of the barbecue grill assembly, wherein the
            tank blocking structure is spaced apart from and positioned below the
            cooking chamber and is not suspended from the cooking chamber.

J.A. at 9. And from Claim 14:

      14. A barbecue grill assembly comprising:

      a cooking chamber, a frame assembly, a grease drip tray, a grease drip pan, a
            tank blocking structure, and a first fuel tank;

      the frame assembly having an interior defined by a top, a bottom panel, a
             rear panel, a right side panel, a left side panel, and a front;

      the frame assembly having at least one door at the front of the frame
            assembly;

      the cooking chamber being supported by the frame assembly at the top of the
            frame assembly;

      the grease drip tray being disposed below the cooking chamber and having an
            opening for directing grease into the grease drip pan;

      the first fuel tank being disposed in the interior of the frame assembly;

      the tank blocking structure being mounted in the interior of the frame
            assembly and being adapted to support the grease drip pan below the
            opening of the grease drip tray and to prevent a second fuel tank, of
            a size equal to that of the first fuel tank, from being disposed at the
            interior of the frame assembly; and

      wherein the frame assembly has a volume capable of housing both the fuel
            tank and replacement fuel tank except for the tank blocking structure.




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Id. at 10. The parties propose competing definitions for the terms “tank blocking

structure,” “from being disposed at the interior of the frame assembly,” and “two

fuel tanks of equal size.” See R. 185, Joint Claim Construction Chart.

      In addition, Sears asks the Court to construe the scope of the two design

patents. R. 178, Def.’s Br. at 2. The ’834 design patent claims an “ornamental design

for a shroud for a barbecue grill.” J.A. at 372. The ’045 design patent claims an

“ornamental design for a grill.” Id. at 376. Weber alleges that Sears has copied the

ornamental designs claimed in the ’834 and the ’045 design patents in a way that

would “deceive an ordinary observer, inducing him to purchase one [grill] supposing

it to be the other.” First Am. Compl. ¶¶ 37-38, 48-49. Sears asks the Court to

construe an element of the ’834 and ’045 design patents (specifically, the fasteners

on the riveted bands) as functional and therefore unprotectable under design patent

law. Def.’s Br. at 2. And, with respect to the ’045 design patent, Sears asks the

Court to construe the claimed design to exclude a design element (a horizontal bar)

that Sears contends was not disclosed in the original figure submitted to the Patent

and Trademark Office (PTO). Id.

                                II. Legal Standard

      Before it can be determined whether a claim is valid or infringed, the Court

must first construe the claim in order to determine its scope. See Markman v.

Westview Instruments, Inc., 52 F.3d 967, 977-79 (Fed. Cir. 1995) (en banc); Kahn v.

General Motors Corp., 135 F.3d 1472, 1476, (Fed. Cir. 1998). “When construing

claim terms, we first look to, and primarily rely on, the intrinsic evidence, including



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the claims themselves, the specification, and the prosecution history of the patent,

which is usually dispositive.” Sunovion Pharms., Inc. v. Teva Pharms. USA, Inc.,

731 F.3d 1271, 1276 (Fed. Cir. 2013). “‘[E]xtrinsic evidence in general’ is ‘less

reliable than the patent and its prosecution history in determining how to read

claim terms.’” SkinMedica, Inc. v. Histogen Inc., 727 F.3d 1187, 1195 (Fed. Cir.

2013) (quoting Phillips v. AWH Corp., 415 F.3d 1303, 1318 (Fed. Cir. 2005) (en

banc)).

      Claim terms are generally given “their ordinary and customary meaning as

understood by a person of ordinary skill in the art when read in the context of the

specification and prosecution history.” Butamax(TM) Advanced Biofuels LLC v.

Gevo, Inc., 746 F.3d 1302, 1309 (Fed. Cir. 2014) (internal quotation marks and

citation omitted). “‘There are only two exceptions to this general rule: 1) when a

patentee sets out a definition and acts as his own lexicographer, or 2) when the

patentee disavows the full scope of a claim term either in the specification or during

prosecution.’” Starhome GmbH v. AT & T Mobility LLC, 743 F.3d 849, 856 (Fed.

Cir. 2014) (internal quotation marks and citation omitted).

                                    III. Analysis

      For the ’874 patent (the utility patent), the parties propose competing

definitions for the terms “tank blocking structure,” “from being disposed at the

interior of the frame assembly,” and “two fuel tanks of equal size.” See Joint Claim

Construction Chart. Because Sears’s proposed construction for tank blocking

structure includes the phrase “in or at the interior of a grill assembly,” and Weber’s



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proposed construction for tank blocking structure includes the phrase “more than

one standard size fuel tank,” the Court addresses the second and third disputed

terms first and turns last to the construction of tank blocking structure.

                    A. At the Interior of the Frame Assembly

      The parties dispute the meaning of the term “prevent a second tank . . . from

being disposed at the interior of the frame assembly,” which appears in Claims 14

through 20 of the ’874 patent. Joint Claim Construction Chart. Sears argues that

this term should be read to mean “prevent a second tank from maintaining a

position in which any part of the second tank is within the frame assembly.” Id.

(emphasis added). In other words, Sears contends that “at the interior” does not

mean that the tank must be “all the way inside.” Def.’s Br. at 1, 8. In support of its

reading, Sears argues that other claims in the ’874 patent prevent a second tank

“from being disposed in the interior of the frame assembly.” Id. at 8; see, e.g., J.A. at

9, col. 6:46-47. Applying claim-differentiation principles, Sears contends that the

patent’s alternate uses of “at” and “in” suggest that each term—really, each

preposition—has a different meaning. Def.’s Br. at 8-9. Because the ’874 patent

occasionally describes a feature as being “at or near” a position, see, e.g., J.A. at 8,

col. 4:2-4, Sears proposes that a tank blocking structure that prevents a second tank

from being “at”—as opposed to “in”—the interior of a frame assembly “blocks a tank

from being near the interior of a frame assembly, but not all the way inside.” Def.’s

Br. at 11.




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       Weber, in contrast, proposes giving the term what Weber contends is the

term’s “plain and ordinary” meaning, so that no construction is necessary. In the

alternative, Weber proposes the construction, “prevent more than one tank [from

being] . . . placed inside the grill cart.” R. 179, Pl.’s Resp. Br. at 6. In support, Weber

argues that the determinative word in the relevant limitation is not “at,” but rather

“interior,” because regardless of the preposition used, the resulting location is the

same. Id. at 7. The Court agrees. Unlike other positional prepositions, that describe

one object’s position in relation to another object (for example, “on,” “under” or

“beside”), “at” simply refers to the location itself. When one is “at home,” one is

home. Similarly, when something is “at the interior,” it is inside.

       Sears’s proposed construction of “at” as “near, but not all the way inside” not

only defies the ordinary meaning of “at” in this context, it also is inconsistent with

the patent’s specification. The specification makes clear that the ’874 patent was

invented with the goal of “configur[ing] the grill cart such that only one fuel tank

may be placed in the interior of the cart.” J.A. at 7, col. 2:2-4. If asked to fulfill this

goal, no skilled artisan would assume that preventing a second tank from being

disposed “at the interior” of the grill cart means preventing a second tank from

being stored near, but not all the way inside the cart. Thus, the Court construes

“prevent a second tank . . . from being disposed at the interior of the frame

assembly” as “prevent a second tank from being placed inside the grill cart.”




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                          B. Two Fuel Tanks of Equal Size

       The parties next dispute the meaning of the term “two fuel tanks of equal

size” (Claims 1-8), and the related terms, “replacement [fuel] tank having a size

equal to a size of the fuel tank” (Claims 9-13), and “second fuel tank, of a size equal

to that of the first fuel tank” (Claims 14-20). See Joint Claim Construction Chart.

Weber proposes construing the term as “two standard equal size fuel tanks,”

whereas Sears proposes “two refillable tanks or cylinders of any capacity that have

the same dimensions.” Id. (emphases added). Weber argues that a person skilled in

the art at the time of the invention would understand that the ordinary meaning of

“fuel tank” is a standard, twenty-pound tank. Pl.’s Resp. Br. at 9. In further

support, Weber argues that “[a]ll of the figures [of the ’874 patent] clearly depict a

standard 20 lb. liquid propane fuel tank (item 50 in Figures 1, 2, and 3) disposed in

the grill cabinet.” Id.

       The Court disagrees on both points. If Weber were correct, and a “fuel tank”

always referred to a standard, twenty-pound fuel tank, there would be no need to

specify that the second fuel tank is of equal size. Under Weber’s construction, “equal

size” would be superfluous because “tank” could only mean a twenty-pound tank.

Nor would the prior art identified in the ’874 patent have needed to specify that fuel

tanks were “standard-sized” (as in the Lohmeyer ’964 reference) or “conventional 20

lb.” propane tanks (as in the Murray application). See R. 179-4, Exh. D, ’964 Patent

col. 9:66; R. 179-5, Exh. E, Murray Application at 6, ¶ 75. As for Weber’s contention

that the drawings in the ’874 patent “clearly depict a standard 20 lb.” tank, this



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very argument was submitted to and rejected by the PTO during prosecution, as

explained next.

       In response to indefiniteness concerns on the part of the PTO Examiner,

Weber proposed amendments to Prosecution Claims 1, 6, and 25 of the ’874 patent

“to clarify that the first tank and the second (i.e., replacement) tank are of equal

size, and both are standard 20 lb fuel tanks.” J.A. at 282. Weber argued that the

amendments did not add new matter because a person of ordinary skill in the art

could readily ascertain from the figures that the original tank is a standard twenty-

pound fuel tank. Id. at 282-83. The Examiner disagreed. In a responsive Office

Action, the Examiner rejected Prosecution Claims 1-25 of the ’874 patent as failing

to comply with the written description requirement, noting,

       Since the drawings are not to scale (specification 6, line 18) it is unclear
       whether the represented tank is a 20, 10, or 5 pound tank. There is no
       written description that would lead a person of ordinary skill in the art to
       understand the dimensions/capacity of either the tank (50) or the
       replacement tank.

J.A. at 120.2 The Examiner also found that the added “standard 20 lb” limitation

did constitute new matter. Id. at 122. Weber appealed the rejection, id. at 68, and in

an Examiner-Initiated Interview in August 2012, the Examiner proposed

amendments that would make some claims allowable, id. at 55. Following the

       2In  an appeal, Weber argued that twenty-, ten-, and five-pound tanks differ
substantially in their proportions. J.A. at 84. Thus, it is the proportions, rather than the
scale, of the tanks that would lead a person of ordinary skill to the conclusion that the
depicted tank was a standard, twenty-pound tank. Id. But Weber noted that the Examiner
had previously observed that “the eleven pound and twenty pound cylinder sizes look nearly
identical, even when place[d] adjacent to other cylinders that provide the ability to
comparatively judge their sizes.” Id. at 86. The Court agrees. See id. at 85 (depicting
commercially available fuel tanks). For this and the reasons explained in the text, Weber’s
argument that the figures clearly depict a twenty-pound tank is rejected.
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Interview, Weber accepted the Examiner’s proposed language and agreed to cancel

certain claims. Id. at 30-36. A Notice of Allowability issued. Id. at 29.

      Weber contends that its “arguments and evidence in the appeal brief (that

the . . . tanks shown and described in the ’874 patent were standard 20 lb fuel

tanks) lead [sic] directly to the USPTO abandoning the appeal and allowing the

claims of the ’874 patent to issue, with no written description or indefiniteness

problem.” Pl.’s Resp. Br. at 14. But the Examiner-Initiated Interview that Weber

references did not concern any 35 U.S.C. § 112 indefiniteness issues or, for that

matter, any of the Claims (1, 6, and 25) that included the problematic “standard 20

lb” language. J.A. at 55; see also id. at 275-81. What actually happened between the

Interview and the Notice of Allowability was that Weber agreed to cancel all of the

claims that included the “standard 20 lb” claim term. Id. at 32-36. Thus, the ’874

patent’s prosecution history undermines Weber’s proposed construction in two

ways: (1) the figures do not clearly depict a standard, twenty-pound tank, and (2)

reading “standard” into the term “two fuel tanks of equal size” would allow Weber to

claim new matter that was explicitly rejected by the PTO.

      For all of these reasons, Weber’s proposed construction is rejected. The Court

construes “two fuel tanks of equal size” as “two fuel tanks of any capacity that are of

equal size.” Based on this construction, “replacement [fuel] tank having a size equal

to a size of the fuel tank” and “second fuel tank, of a size equal to that of the first

fuel tank” are also understood as referring to fuel tanks of any capacity and which

are of equal size.



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                            C. Tank Blocking Structure

      The parties next dispute the meaning of the term “tank blocking structure,”

which appears in all of the asserted claims of the ’874 patent. At bottom, the parties’

disagreement stems from whether the structure merely serves the function of

blocking a tank, as Sears contends, or whether (in addition to blocking a tank) the

structure must also fulfill some function of the grill or must support a component of

the grill, as Weber contends. Pl.’s Resp. Br. at 1.

      In its brief, Weber originally proposed the following construction of tank

blocking structure: a “structure which prevents the storage of more than one

standard size fuel tank inside of the frame assembly and holds a grease drip pan for

collecting grease from the cooking chamber.” Id. Sears (rightly) opposed this

construction because the dual-function grease-drip-pan/tank-blocker is just one

embodiment of the claimed invention. Def.’s Br. at 5; see J.A. at 1 (“The preferred

embodiment of the tank blocker described herein is adapted to support a component

of the grease management system, namely the grease drip pan.”). And indeed, a

number of the ’874 patent’s claims describe a tank blocking structure with no

reference to a grease drip pan (see Claims 9 and 13), while others expressly add

recitation of a grease drip pan (see Claim 1). Id. at 9-10. Thus, in the context of

Claim 1, for example, Weber’s proposed construction would redundantly read, “the

[structure which prevents the storage of more than one standard size fuel tank

inside of the frame assembly and holds a grease drip pan for collecting grease from




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the cooking chamber] holding a grease drip pan for collecting grease from the

cooking chamber of the barbecue grill assembly . . . .” Id.

      At the Markman hearing, after discussing this apparent fatal flaw in the

proposed construction, Weber retreated to its alternate construction for tank

blocking structure: “a structure which prevents the storage of more than one

standard size fuel tank inside of the frame assembly and also serves as a function of

or supports a component of the grill.” In essence, Weber now asks the Court to

construe tank blocking structure in a way that incorporates a dual function of some

kind—not necessarily limited to the grease-drip function.

      On the one hand, Weber’s proposed construction finds some support in the

patent’s Abstract, which states, “Because it is known that many consumers never

install or even remove prior art tank blockers, the tank blocker of the present

invention is adapted to serve as a function of the grill (in addition to the function of

blocking a tank) or to support a component of the grill.” J.A. at 1. But, on the other

hand, the proposed construction is significantly undermined by other parts of the

specification. The “Summary of the Inventions” states in relevant part:

             A first embodiment of the invention solves the problems identified
      above by incorporating a tank blocking structure in the interior of the grill
      cart. This structure would be fastened inside the cart, such that it is not
      readily removable, and would compartmentalize the interior of the cart such
      that only one tank will fit in the cart. . . .

             Unfortunately, it is believed that some consumers will not install the
      tank blockers or will remove them when they find out that they will be
      unable to store a replacement tank on the cart. Consequently, there is a need
      in the art for a tank blocker for a barbecue grill which will reduce the chance
      that a consumer will remove the tank blocker and store a replacement tank
      on the barbecue grill.

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             Therefore, the preferred embodiment of the inventions is adapted to
      have a dual purpose, whereby the tank blocker serves another function, in
      addition to the function of blocking the placement of a replacement tank. As
      such, consumers will have to install the preferred tank blocker, lest the grill
      operate improperly or even be altogether inoperable.

Id. at 7, col. 2:9-34 (emphases added). The first line clearly states that one

embodiment of the claimed invention does not incorporate a dual function, giving

rise to the removal risk. Thus, the “preferred embodiment of the inventions” adopts

a dual purpose, so that removal will impair the grill’s operability.

       “As a general rule, it is improper to read limitations from a preferred

embodiment described in the specification—even if it is the only embodiment—into

the claims absent a clear indication in the intrinsic record that the patentee

intended the claims to be so limited.” Dealertrack, Inc. v. Huber, 674 F.3d 1315,

1327 (Fed. Cir. 2012) (internal quotation marks and citation omitted). The Federal

Circuit refers to this as disavowal, which “requires that the specification or

prosecution history make clear that the invention does not include a particular

feature, or is clearly limited to a particular form of the invention.” Hill-Rom Servs.,

Inv. v. Stryker Corp., 755 F.3d 1367, 1371-72 (Fed. Cir. 2014) (internal quotation

marks, alterations, and citations omitted). “The standards for finding . . . disavowal

are exacting.” Id. at 1371.

      Weber contends that its disparagement of the first embodiment (the one that

serves only the tank blocking function) demonstrates Weber’s intent to incorporate

the preferred dual-function element into all the claims. Pl.’s Resp. Br. at 2-3. But

the Federal Circuit has made clear that disavowal requires clear expression of a

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patentee’s intent to limit an invention to a particular form—that is, something more

than the mere expression of a patentee’s preference for that form. See Hill-Rom, 733

F.3d at 1371-72; Chicago Bd. Options Exch., Inc. v. Int’l Sec. Exch., LLC, 677 F.3d

1361, 1372 (Fed. Cir. 2012). The ’874 patent does not describe the present invention

as “requiring” or “including” a dual-function. Cf. Andersen Corp. v. Fiber

Composites, LLC, 474 F.3d 1361, 1367 (Fed. Cir. 2007) (where specification

“require[d]” an element, it was “not merely a preferred embodiment, but is a critical

element in the process”); SciMed Life Sys., Inc. v. Advanced Cardiovascular Sys.,

Inc., 242 F.3d 1337, 1343 (Fed. Cir. 2001) (where patent stated that a particular

feature is the basic feature for “all embodiments of the present invention

contemplated and disclosed herein,” that feature applied beyond the preferred

embodiment). Nor do two sentences in the specification (and their counterpart in

the abstract)—opining that some consumers might remove the tank blocker, J.A. at

1, 7—rise to the level of “repeated derogatory statements” about the “inherent

inadequacies” and “deficiencies” of a particular embodiment, evincing a clear intent

to disclaim it. See Chicago Bd., 677 F.3d at 1372.

      It is true that disavowal does not require magic words. See Hill-Rom, 755

F.3d at 1373. But controlling case law says that disavowal must meet an “exacting

standard”—something more than language that could go either way. This tough

standard makes sense: the disavowal doctrine ordinarily is a shield against reading

a limitation into a claim. In order to invoke the doctrine, a patent author must

overcome the fact that it is easy to avoid calling something an “embodiment” of the



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invention if it is not in fact intended to be an embodiment of the invention. A patent

author should not also be allowed to use the disavowal doctrine as a sword to ward

off invalidity challenges. The effect of allowing disavowal in this context (as sword,

not shield) is this: a patent owner is permitted first to use broad language to

constrain competition, and then to “disclaim” the same language in litigation to

bolster validity and infringement contentions—in essence, receiving the best of both

worlds.

      Section 112’s written-description requirement is intended not only to allow a

person skilled in the art to reproduce the invention after the patent’s expiration,

“but also to inform the public during the life of the patent of the limits of the

monopoly asserted, so that it may be known which features may be safely used or

manufactured without a license and which may not.” Permutit Co. v. Graver Corp.,

284 U.S. 52, 60 (1931) (emphasis added). Thus, to align with the purposes of the

statute, the “clear intent” required for disavowal should be an expression so clear

that the relevant public would understand the claims to be so limited. See Phillips,

415 F.3d at 1312 (“Because the patentee is required to ‘define precisely what his

invention is,’ . . . it is ‘unjust to the public, as well as an evasion of the law, to

construe it in a manner different from the plain import of its terms.’” (quoting White

v. Dunbar, 119 U.S. 47, 52 (1886))). In light of § 112’s purpose and Federal Circuit

precedent, Weber has not met the “exacting standard” for proving that the dual

function is anything other than what it is called: a preference, not a defining

limitation.



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      This conclusion is further supported by the fact that independent Claims 9

and 13 describe a tank-blocking structure that serves no dual purpose. J.A. at 9-10.

Weber counters by arguing “that the dual purpose tank blocking structure was one

of the Examiner’s principal reasons for allowing all of the claims”— suggesting that

the dual-function limitation should be read into even those claims that prescribe no

function other than tank-blocking. Pl.’s Resp. Br. at 4 (emphasis in original). But

Weber misapprehends the Notice of Allowability. See J.A. at 36. The Notice first

listed which claims would be allowed (2, 3, 5, 7, and 9-24), and then provided a list

of reasons for their allowance, without specifying which reasons corresponded with

which claims. It is true that the grease-drip limitation is listed as one reason that

the Examiner allowed the claims. But another listed reason is “the tank blocking

structure is spaced apart from and positioned below the cooking chamber and is not

suspended from the cooking chamber,” id.—a limitation that does not appear in all

of the issued claims. Thus, it is evident that the Examiner’s listed reasons for

allowance are cumulative and do not apply to each claim individually.

      For all of these reasons (and in light of the Court’s construction of the two

disputed terms above), the Court construes tank blocking structure as “a structure

that prevents more than one fuel tank from being placed inside the grill cart frame

assembly at one time.”

                                 D. Riveted Band

      Sears next asks the Court to construe the ’834 and ’045 design patents to

remove an allegedly functional element from the scope of the claimed designs. Def.’s



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Br. at 15. Specifically, both design pattents depicct, in part, a riveted b
                                                                          band along
                                                                                   g the

outer edges of the grill shrou
                             ud:




J.A. at 373 (’834 design patent).




Id. at 377 (’045 design patent). Sears contendss that the fasteners or rivets that

secure the band to the shrroud are primarily
                                   p         fu
                                             functional and therefore shoulld be

removed
      d from the scope of each
                          e    design
                                    n patent. Def.’s Br. at 15. In reesponse, W
                                                                              Weber

argues that the exposed-rivet band de
                                    esign, on tthe whole, is primariily ornameental

rather than functional.



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      In Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665 (Fed. Cir. 2008) (en

banc), the Federal Circuit considered the question of whether and how trial courts

should construe claims in design patent cases. For the most part, the Federal

Circuit left these questions to the discretion of trial courts and reiterated the

general principle that a verbal description of the design is usually unhelpful (that

is—a picture is worth a thousand words):

            While this court has held that trial courts have a duty to conduct claim
      construction in design patent cases, as in utility patent cases, the court has
      not prescribed any particular form that the claim construction must take. To
      the contrary, the court has recognized that design patents typically are
      claimed as shown in drawings, and that claim construction is adapted
      accordingly. . . .

            . . . Given the recognized difficulties entailed in trying to describe a
      design in words, the preferable course ordinarily will be for a district court
      not to attempt to “construe” a design patent claim by providing a detailed
      verbal description of the claimed design.

Id. at 679 (internal quotation marks and citations omitted). But sometimes

endeavoring to describe the design is permitted and helpful, depending on the

circumstances:

             With that said, it is important to emphasize that a district court’s
      decision regarding the level of detail to be used in describing the claimed
      design is a matter within the court’s discretion, and absent a showing of
      prejudice, the court’s decision to issue a relatively detailed claim construction
      will not be reversible error. At the same time, it should be clear that the court
      is not obligated to issue a detailed verbal description of the design if it does
      not regard verbal elaboration as necessary or helpful. In addition, in deciding
      whether to attempt a verbal description of the claimed design, the court
      should recognize the risks entailed in such a description, such as the risk of
      placing undue emphasis on particular features of the design and the risk that
      a finder of fact will focus on each individual described feature in the verbal
      description rather than on the design as a whole. . . .




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Id. at 679-80. One of the points in favor of providing a description, under the right

circumstances, is to distinguish ornamental features from functional ones:

             . . . Apart from attempting to provide a verbal description of the design,
      a trial court can usefully guide the finder of fact by addressing a number of
      other issues that bear on the scope of the claim. Those include such matters
      as describing the role of particular conventions in design patent drafting,
      such as the role of broken lines; assessing and describing the effect of any
      representations that may have been made in the course of the prosecution
      history; and distinguishing between those features of the claimed design that
      are ornamental and those that are purely functional.

Id. at 680 (internal citations omitted) (emphasis added).

      After Egyptian Goddess, the Federal Circuit again addressed the issue of

construing a design patent in Richardson v. Stanley Works, Inc., 597 F.3d 1288

(Fed. Cir. 2010). There, the Federal Circuit considered a district court’s construction

of a design patent claiming a multi-function carpentry tool that combined a

conventional hammer with a stud-climbing tool and a crowbar. Id. at 1290.

Following a bench trial, the district court issued an order that first construed the

design patent and then addressed the claims of infringement. Id. at 1292. As part of

its claim construction, the district court distinguished the ornamental aspects from

the functional aspects of the claimed design, leaving only the ornamental aspects for

comparison at the infringement stage. Id. at 1292-93. On appeal, the patent owner

argued that the district court “erred in its claim construction by separating the

functional aspects of the design from the ornamental ones, rather than considering

the design as a whole.” Id. at 1293. The Federal Circuit affirmed the district court’s

claim construction, holding that when an invention contains both functional and

ornamental aspects, “it is entitled to a design patent whose scope is limited to [the

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ornamental] aspects alone and does not extend to any functional elements of the

claimed article.” Id. at 1293-94.

      Relying on Richardson, Sears argues that the ’834 and ’045 design patents

must be construed to remove a primarily functional element: the fasteners that

secure the riveted bands to the grill shroud. Def.’s Br. at 16. But Sears’s

functionality analysis is more akin to an invalidity contention than to a question of

construction. In support of its argument, Sears introduces considerable extrinsic

evidence of the alleged functionality of threaded screws and other fasteners. See id.

at 17-18 (citing Wikipedia; Weber’s engineering documents; industry standards of

performance; a fastener manufacturer’s website). The problem is that none of the

alleged evidence of functionality is apparent from the ’834 and ’045 figures. The

figures do not depict the exposed rivets as threaded screws or any sort of particular

fastener.3 See J.A. at 372-75 (’834 design patent), 376-80 (’945 design patent). In

fact, it is entirely unclear from the claimed figures how the riveted bands are even

attached to the grill shroud. Based on the claimed figures alone, a person of

ordinary skill might well come to the conclusion that the rivets are fake (that is,

purely ornamental and not actually fastening the bands to the shroud), and that the

bands are affixed to the shroud with a bonding agent or some other means.

      Claim construction asks a court to determine, from the perspective of a

person of ordinary skill, what precisely a patent has put the public on notice of—

that is, how the claimed language or, in this case, drawings framed “the scope of the

      3Sears’s    contention that the rivets are essentially threaded screws is based on
engineering drawings and a factory tour video that are not part of the design patents at
issue. See Def.’s Br. at 18-19.
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patentee’s right to exclude.” See Markman, 52 F.3d at 978-79. It is a question of law,

to be decided by the trial court, “toward the end of fact discovery” (under this

jurisdiction’s Local Patent Rules). Id.; N.D. Ill. L.P.R. at 1. Functionality, in

contrast, is an affirmative defense to a claim of infringement that, if proven,

invalidates a design patent. L.A. Gear, Inc. v. Thom McAn Shoe Co., 988 F.2d 1117,

1123 (Fed. Cir. 1993). “Whether a patented design is functional or ornamental is a

question of fact.” PHG Technologies, LLC v. St. John Cos., 469 F.3d 1361, 1365

(Fed. Cir. 2006). The two concepts intersect because functional aspects of a design

patent are unpatentable and must, therefore, be filtered out of a design patent.

Richardson, 597 F.3d at 1293-94. But, other than their ultimate ability to bear on

the scope of a claimed design, claim construction and functionality pose entirely

distinct questions that will generally be answered by different evidence at different

stages in the litigation.

       Sears argues that, under Richardson, “it would be error on claim construction

not to separate out the functional elements from the supposedly decorative.” R. 184,

Def.’s Reply Br. at 10. But that is too restrictive a reading of Richardson for two

reasons. First, the district court in Richardson was atypically poised to consider the

questions of claim construction and functionality simultaneously, because the

district court addressed both questions at the trial stage. In the typical case (at

least in this District), a court holds a Markman hearing, construes disputed terms,

and then proceeds later in the case to the merits via summary judgment or trial.

Thus, substantive issues like invalidity and infringement are reserved for the fact



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finder, at a stage in the litigation when discovery is complete. But in Richardson,

the district court appears to have condensed both claim-construction and the merits

into a single bench-trial proceeding. See Richardson v. Stanley Works, Inc., 610 F.

Supp. 2d 1046 (D. Ariz. 2009). This was possible because, as the finder of both fact

and law, the district court did not need to settle on claim constructions in advance of

trial for the benefit of a jury. Following the bench trial, the district court entered a

single order first construing the design patent (for itself) and then considering

whether the claimed design had been infringed. See id. Thus, unlike the typical

case, the Richardson trial court was able to consider claim construction and

functionality together, with the benefit of a fully developed record at trial.

      Second, in affirming the district court’s claim-construction ruling, the Federal

Circuit opined that the patent owner’s “argument that the court erred in separating

out functional aspects of his design essentially is an argument for a claim scope that

includes the utilitarian elements of his multi-function tool.” Richardson, 597 F.3d at

1294. Allowing the patent owner to claim those elements, the Federal Circuit

posited, would be improper. Id. In other words, Richardson makes clear that a trial

court must filter out primarily functional elements from a design patent’s scope

before a fact finder may consider whether the design was infringed. But, contrary to

Sears’s position, it does not mandate when that separation between function and

ornament must occur in the litigation.

      At bottom, Richardson does not disturb Egyptian Goddess’s holding that the

contours of claim construction in the design patent context are left to the district



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courts’ discretion. See 543 F.3d at 679-80. Here, the Court views claim construction

as the process of determining how a person of ordinary skill in the field of invention

would understand a claim at the time of the invention, and ascribing meaning to

disputed terms accordingly. See Phillips, 415 F.3d at 1312-13. Employing that

standard, it is clear that a person of ordinary skill would understand the designs

claimed in the ’834 and ’045 design patents to encompass the exposed rivets. To be

sure, Sears may ultimately prove—after the close of expert discovery, in a

substantive motion—that the rivets actually are threaded screws that serve a

primarily functional purpose. And, in that event, the Court would remove the rivets

from the scope of the ’834 and ’045 design patents, as mandated by Richardson. But,

under the circumstances, the Court will not accelerate a fact-intensive inquiry, and

especially one that, in effect, bears on the validity of Weber’s design patents, to this

early claim-construction stage just because the Federal Circuit has recognized that

there are some circumstances in which it might be proper to do so. For now, the

Court construes the ’834 and ’045 design patents just as the drawings show: as

including the riveted bands.

                                 E. Horizontal Bar

      Finally, Sears asks the Court to remove another feature of the ’045 design

patent: specifically, a horizontal bar that borders the lower, side edges of the grill

cart in Figures 4 and 5 of the ’045 design patent. Joint Claim Construction Chart.

Figures 1, 4, and 5 of the ’045 design patent are shown below:




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J.A. at 377, 380. Sears conte
                            ends that the
                                      t horizo ntal bar aloong the low
                                                                     wer, side eedges

of the grill cart (visible in Figures
                              F       4 and
                                        a   5) do es not appear in Fig
                                                                     gure 1 and was

rejected by the Examiner as
                         a new ma
                                atter during prosecution. Def.’ss Br. at 23
                                                                          3-24.

Accordingly, Sears asks the
                          e Court to construe tthe ’045 design paten
                                                                   nt withoutt the

horizontal bar.




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      Turning first to the alleged
                           a       incconsistency between Figure 1 and Figurres 4

and 5, it is clear that Figures 4 and 5 depict a horizontal edge or bar along
                                                                            g the

lower, side edges of the grill cart that Figure
                                         F      1 d oes not:




Weber argues tha
               at this inconsistency
                                   y is merely
                                             y a matter of perspeective—tha
                                                                          at is,

that “the bottom edge
                 e    clearlly shown in
                                      n Figures 4 and 5 of the paten
                                                                   nt is simply
                                                                              y not

visible from the perspective of Figure 1.”
                                       1 Pl.’s Re sp. Br. at 2
                                                             21. Weber’s unpersua
                                                                                asive

argument is rejected. It is true thatt Figure 1 offers an elevated view, butt the

considerable depth of the le
                           eft side she
                                      elf belies Weber’s argument th
                                                                   hat the bottom

edge is simply too condensed
                           d to be visiible. It would be a very simple m
                                                                       matter to d
                                                                                 draw

the edge in Figure 1, despite
                            e the angled, elevated perspective.

      Turning to Sears’s second
                         s      arg
                                  gument, d uring the prosecutioon of the ’045

design patent, the Examine
                         er rejected
                                   d certain drawings because th
                                                               hey added new

matter that was not disclose
                           ed in the parent
                                     p      appllication. Def.’s Br. att 23; see J.A
                                                                                   A. at

514. Th
      he rejection
                 n notice insstructed Weber
                                      W     to “[n
                                                 n]ote the enclosed priints of figss. 1-7

wherein examiner tried to mark up the
                                  t   differe nces” between the rrejected fig
                                                                            gures

and the originals. J.A. at 514
                             4. With resspect to Fi gure 1, the Examinerr pointed too the
                                            25
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horizontal bar and wrote “ed
                           dge not visible in 1A. ” See id. at 517. Afteer receiving
                                                                                   g the

rejection notice, Weber amen
                           nded Figurre 1 by alttering its perspectivee and remooving

the horizontal bar. J.A. at 505. Below are (1) the original Figure 1A, (2) the “m
                                                                                mark-

up” of rejected Figure 1, and
                            d (3) replace
                                        ement Figu
                                                 ure 1 as issued:




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J.A. at 659, 517, 377. Becau
                           use replace
                                     ement Figure 1 does not depict the horizoontal

bar, Sears contends that Weber
                         W     surre
                                   endered t hat element in order to receivee the

’045 patent and, as a resultt, cannot now
                                      n   reclai m it. Def.’s Br. at 24
                                                                      4; see also Pac.

Coast Marine Windshields Ltd.
                         L    v. Ma
                                  alibu Boatss, LLC, 739 F.3d 694
                                                                4, 703-04 ((Fed.

Cir. 2014) (holding prosecu
                          ution histo
                                    ory “estop pel arises when an amendmen
                                                                         nt is

made to secure the patent an
                           nd the ame
                                    endment narrows thee patent’s sscope” (quooting

Festo Corp. v. Shoketsu Kiinzoku Kog
                                   gyo Kabusshiki Co., Ltd., 535 U.S. 722, 736

(2002)) (internal quotation marks
                            m     and alterationss omitted)).

      There are two problem                   ment. First, the imag
                          ms with Sears’s argum                   ge of Figurre 1A

above is supposedly the best available
                                     e copy of t he figure ooriginally ssubmitted with

the ’045 design patent application. Bassed on the extremely poor imag
                                                                    ge quality, it is

impossible to determine wh
                         hether the
                                  e Examine r’s note (“edge not v
                                                                visible in 1A”)

refers to the horizontal bar specifically or to th e bottom edge of the grill cart as a

whole not being visible. Inde
                            eed, the bo
                                      ottom half of the image is so diifficult to m
                                                                                  make

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out that the Examiner also rejected the wheel detailing as “not visible in fig. 1A.”

See J.A. at 517. Second, although Weber did remove the horizontal bar from

replacement Figure 1, the horizontal bar is still clearly visible in replacement

Figures 4 and 5 (which were ultimately issued as submitted). See id. at 505, 508.

Thus, there is insufficient evidence in the record to conclude that Weber

surrendered the horizontal bar design element to secure the ’045 design patent.

      Without the prosecution-history-estoppel argument, Sears’s remaining basis

for its proposed construction of the ’045 design patent is the inconsistency between

Figure 1 and Figures 4 and 5 of the patent as issued. As discussed above, it is true

that there is an inconsistency in those figures. But Sears cites no authority for the

proposition that inconsistencies in a design patent should be resolved through claim

construction. On the contrary, Federal Circuit case law suggests that Sears’s

argument is once again more appropriately couched in terms of invalidity (this time

as a potential indefiniteness contention) than claim construction. See Antonious v.

Spalding & Evenflo Cos., 217 F.3d 849, at *6-7 (Fed. Cir. 1999) (unpublished). As

with Sears’s functionality argument, if Sears wishes to assert an invalidity

contention on this basis, it may do so in a later, substantive motion. For now, the




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Court does not exclude the horizontal bar from the grill design claimed in the ’045

design patent.


                                                   ENTERED:



                                                         s/Edmond E. Chang
                                                   Honorable Edmond E. Chang
                                                   United States District Judge

DATE: October 20, 2014




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